87 F.3d 1323
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Guadalupe BARRERA-CORTEZ, Defendant-Appellant.
    No. 95-10332.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 11, 1996.*Decided June 14, 1996.
    
      Before:  CANBY, JOHN T. NOONAN, JR., and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Guadalupe Barrera-Cortez appeals his conviction by guilty plea and sentence under the Sentencing Guidelines for being a deported alien found in the United States, in violation of 8 U.S.C. § 1326(a).   Barrera-Cortez's counsel has submitted a brief pursuant to Anders v. California, 386 U.S. 738 (1967), and a motion to withdraw as counsel of record.   Because our independent review of the record discloses no meritorious issues for review, counsel's motion to withdraw is GRANTED and the district court's judgment is
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    